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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION



UNITED STATES OF AMERICA,


V.                                                  CRIMINAL CASE NO. 3:17-CR-00080-4



TRACY MICHELLE MOODY,
                             Defendant.



             REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the Court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuantto Fed. R. Crim. P. 11 and a written plea

agreement that has been entered into by the United States and the Defendant. The matter was

presented to the Court upon the written consent of the Defendant and counsel for the Defendant to

proceed before a United States Magistrate Judge, said consent includingthe Defendant's

understanding that he consented not only to having the Magistrate Judge conductthe hearing, but

also to having the Magistrate Judgemake necessary findings and accept any guiltyplea as may be

entered that could not be withdrawn except for a fair and just reason.

            The Defendantpled guilty to Count ONE (1) of the Indictmentin open court and

pursuantto a Rule 11 inquiry. Upon consideration of the responses and statements made by the

Defendant under oath, on the record, and based upon the written plea agreement and statement of

facts presented, the Court makes the following findings:

       1.        That the Defendant is competent to enter a plea of guilty;

       2.        That the Defendant understands the nature of the charge against him to which his

                 plea is offered;
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    3.    That the Defendant understands what the maximum possible penalties are upon

          conviction of the offense charged, including any mandatory minimum periods of

          confinement, the effect of any required term of supervised release, the loss of

          various civil rights (if applicable, including the rightto vote, the rightto holdpublic

          office, the right to own and possess a firearm), the possibility of adverse

          immigration consequences (if applicable), the required imposition of a special

          assessment, forfeiture of real and/or personal property (if applicable), and

          restitution (if applicable);

    4.    That the sentencing court has jurisdiction and authorityto impose any sentence

          within the statutory maximums provided; can reject the parties' stipulations as to

          drug quantity and/or any sentencing factors; will determine the defendant's actual

          sentence in accordance with 18 U.S.C. § 3553(a); and, after considering the factors

          set forth in 18 U.S.C. § 3553(a), may impose a sentence above or belowthe

          advisory sentencing range, subject only to review by higher courts for

          reasonableness;

    5.    That the Defendant understands his right to persist in a plea of not guilty and

          require that the matterproceed to trial with all the rights and privileges attending a

          trial, including, but not limited to: the right to effective assistance of counsel; the

          right to use the power and processes of the Court to compel evidence on the

          Defendant's behalf; the right to confi*ont and cross-examine adverse witnesses; the

          right to present relevantevidence; the right to remain silent; and, the right to trial by

          jury;

    6.    That the Defendant understands that he is waiving any right to appeal whatever

          sentence is imposed by pleading guilty, even ifthe sentenceis erroneous, as long as

          said sentence does not exceed the total statutory penalties provided;
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       7.     That the Defendant understands all provisions of the written plea agreement which

              was reviewed in essential part with the Defendant during the proceeding;

       8.     Thatthe pleaof guilty entered by the Defendant was knowingly andvoluntarily

              entered and is not the result of force or intimidation of any kind; nor is it the result

              of any promises otherthanthe representations set forth in the plea agreement; and

       9.     Thatthe plea of guilty entered by the Defendant was knowingly and voluntarily

              made with full knowledge of the consequences and with an independent basis in

              fact to support said plea).

       Accordingly, the Court accepted the Defendant's plea of guilty to Count ONE (1) of the

Indictment and entered judgmentof guilt on the subject charge. It is therefore the

recommendation of the Courtthat its findings, including the acceptance of the Defendant's plea of

guilty and resultingjudgment of guilt, be adopted.



                                                              /s/
                                              Roderick C. Young
                                              United States Magistrate Jdiidge

Richmond, Virginia
Date: September 14,2017
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NOTICE


       The Defendant is advised that he/she may file specific written objection to this report

and recommendation with the Court within fourteen (14) days of this date. If objection is

noted, the party objecting must promptly arrange for the transcription of the relevant

record and file it forthwith with the Court for its use in any review. Failure to object in

accordance with this notice, including the requirement for preparation of a transcription of

the relevant portions of the record, will constitute a waiver of any right to de novo review of

the matter and may result in adoption of the recommendation, including the finding of guilt

as entered by the magistrate judge.
